        Case 1:21-cr-00248-RDM Document 101 Filed 03/28/23 Page 1 of 3




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                 )
                                          )
                  v.                      )
                                          )         No. 21-cr-248-01 (RDM)
AARON MILEUR                              )
                                          )
            Defendant.                    )
__________________________________________)

            MOTION TO MODIFY CONDITIONS OF PROBATION

      Aaron Mileur hereby respectfully moves this Honorable Court to permit him

to possess, at home, a firearm, in order to protect himself and his property from the

moose population in Wasilla, Alaska. The government intends to file an opposition

to this request.

      Mr. Mileur resides in Wasilla, AK and, until this case, possessed a rifle in

order to fend off moose. The Court, at his Sentencing Hearing on March 20, 2023,

inquired whether Mr. Mileur needed to maintain his firearm for self-defense and

defense of property. Caught off guard by this question, Mr. Mileur hesitated and

ultimately declined.

      Upon reflection and after a visit by moose during the following week, Mr.

Mileur now requests permission to possess a rifle. “Moose are usually not

dangerous, although they can become aggressive if they are harassed by humans,

domesticated pets, or traffic. They can also become temperamental when hungry or

tired, especially during the winter when they must travel through deep snow.”

https://a-z-animals.com/blog/are-moose-dangerous/. Mother moose are also very

                                          1
          Case 1:21-cr-00248-RDM Document 101 Filed 03/28/23 Page 2 of 3




protective of their calves. https://wildlifeinformer.com/are-moose-more-dangerous-

than-bears/ (“In late spring or summer, females with young calves are very

protective and will attack if they get too close. Make sure never to walk between a

calf and mother.”). Thus, in “Alaska, more people are injured each year by moose

attacks than bears…. Around 5 to 10 people in Alaska are wounded because of

moose annually.” https://wildlifeinformer.com/are-moose-more-dangerous-than-

bears/

         Mr. Mileur owns the rifle because of the presence of wild and potentially

dangerous animals in Alaska, not the least of which are, moose. After his

Sentencing Hearing, Mr. Mileur observed a young moose in his backyard, pictured

here. Given the moose’s age, Mr. Mileur surmised that a mother moose was also

nearby.




                                            2
       Case 1:21-cr-00248-RDM Document 101 Filed 03/28/23 Page 3 of 3




                                   Conclusion

      Mr. Mileur thus respectfully requests that the conditions of his probation be

modified so that he may defend himself and his property against potential moose on

his property.




                                      Respectfully submitted,

                                      A.J. KRAMER
                                      FEDERAL PUBLIC DEFENDER

                                      ____________/s/______________
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